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10
                           UNITED STATES DISTRICT COURT

11
                         CENTRAL DISTRICT OF CALIFORNIA

12   AUTOMOBILIA II, LLC, a Florida                  Case No.:
     Limited Liability Company,
13                                                      COMPLAINT FOR:
14   Plaintiff,                                          1. COPYRIGHT
                                                            INFRINGEMENT
15
     v.                                                  2. VIOLATION OF THE
16
                                                            DMCA: 17 U.S.C. § 1202
17   BUZZFEED, INC., a Delaware Corporation;
     and DOES 1 through 10,                              Jury Trial Demanded
18

19   Defendants.

20

21         AUTOMOBILIA II, LLC, by and through its undersigned attorneys, hereby
22   prays to this honorable Court for relief based on the following:
23                             JURISDICTION AND VENUE
24         1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
25   et seq.
26         2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and
27   1338 (a) and (b).
                                                1
28                                          COMPLAINT
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1          3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
2    1400(a) in that this is the judicial district in which a substantial part of the acts and
3    omissions giving rise to the claims occurred.
4                                          PARTIES
5          4. Plaintiff AUTOMOBILIA II, LLC (“Plaintiff”) is a limited liability
6    company organized and existing under the laws of the state of Florida.
7          5. Plaintiff is informed and believes and thereon alleges that Defendant
8    BUZZFEED, INC. (“BUZZFEED”) is a Delaware Corporation with a principal
9    office at 608 Main St, Venice, California 90291, and is the owner of the website at
10   www.buzzfeed.com.
11         6. Plaintiff is informed and believes and thereon alleges that Defendants
12   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
13   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
14   or have engaged in one or more of the wrongful practices alleged herein. The true
15   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
16   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
17   by such fictitious names, and will seek leave to amend this Complaint to show their
18   true names and capacities when same have been ascertained.
19         7. Plaintiff is informed and believes and thereon alleges that at all times
20   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
21   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
22   at all times acting within the scope of such agency, affiliation, alter-ego relationship
23   and/or employment; and actively participated in or subsequently ratified and/or
24   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
25   circumstances, including, but not limited to, full knowledge of each violation of
26   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
27   //
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28                                          COMPLAINT
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1                CLAIMS RELATED TO SUBJECT PHOTOGRAPH A
2         8. Plaintiff owns an original photograph of a T-Bird on Route 66 (“Subject
3    Photograph A”) that was registered with the United States Copyright Office on
4    February 1, 1994 with the Registration Number VAu 285-961. Plaintiff is the sole
5    owner of the exclusive rights in Subject Photograph A.
6         9. Plaintiff is informed and believes and thereon alleges that following its
7    publication and display of Subject Photograph A, BUZZFEED, DOE Defendants,
8    and each of them used Subject Photograph A without Plaintiff’s authorization for
9    commercial purposes in various ways, including, but not limited to, the use on
10   websites such as www.buzzfeed.com.
11        10. An image of Subject Photograph A and a screen capture of Defendant’s
12   website with Subject Photograph A embedded are set forth hereinbelow:
13                                 Subject Photograph A
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28                                        COMPLAINT
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2                                      Screen Capture
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                 CLAIMS RELATED TO SUBJECT PHOTOGRAPH B
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          11. Plaintiff owns an original photograph of Al Mac's Diner (“Subject
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     Photograph B”) that was registered with the United States Copyright Office on
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     January 27, 2000 with the Registration Number VAu 483-774. Plaintiff is the sole
17
     owner of the exclusive rights in Subject Photograph B.
18
          12. Plaintiff is informed and believes and thereon alleges that following its
19
     publication and display of Subject Photograph B, BUZZFEED, DOE Defendants,
20
     and each of them used Subject Photograph B without Plaintiff’s authorization for
21
     commercial purposes in various ways, including, but not limited to, the use on
22
     websites such as www.buzzfeed.com.
23
          13. An image of Subject Photograph B and a screen capture of Defendant’s
24
     website with Subject Photograph B embedded are set forth hereinbelow:
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28                                         COMPLAINT
     Case 2:20-cv-07368 Document 1 Filed 08/14/20 Page 5 of 11 Page ID #:5




1                                  Subject Photograph B
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                                      Screen Capture
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24          CLAIMS RELATED TO SUBJECT PHOTOGRAPHS C, D, & E
25        14. Plaintiff owns three (3) original photographs authored and combined to
26   depict Santa Claus (“Subject Photographs C, D, & E”) that were registered with the
27   United States Copyright Office on August 6, 2007, July 24, 2007, and January 31,
                                              5
28                                       COMPLAINT
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1    2008 respectively with the Registration Numbers VAu 954-340, VAu 747-391, and
2    VAu 998-127. Plaintiff is the sole owner of the exclusive rights in Subject
3    Photographs C, D, and & E.
4         15. Plaintiff is informed and believes and thereon alleges that following its
5    publication and display of Subject Photographs C, D, & E, BUZZFEED, DOE
6    Defendants, and each of them used Subject Photographs C, D, & E without
7    Plaintiff’s authorization for commercial purposes in various ways, including, but not
8    limited to, the use on websites such as www.buzzfeed.com.
9         16. Images of Subject Photographs C, D, & E and a screen capture of
10   Defendant’s website with Subject Photographs C, D, & E embedded are set forth
11   hereinbelow:
12                                 Subject Photograph C
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28                                         COMPLAINT
     Case 2:20-cv-07368 Document 1 Filed 08/14/20 Page 7 of 11 Page ID #:7




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2                                Subject Photograph D
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14                               Subject Photograph E
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28                                     COMPLAINT
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1                                       Screen Capture
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                                FIRST CLAIM FOR RELIEF
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              (For Copyright Infringement - Against All Defendants, and Each)
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          17. Plaintiff repeats, re-alleges and incorporates herein by reference as though
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     fully set forth the allegations contained in the preceding paragraphs of this
23
     Complaint.
24
          18. Plaintiff is informed and believes and thereon alleges that Defendants, and
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     each of them, infringed Plaintiff’s copyrights by creating an infringing and/or
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     derivative work from all of the works at issue, i.e. Subject Photographs A to E,
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28                                          COMPLAINT
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1    (collectively the “Subject Photographs”), and by publishing the work which infringes
2    the Subject Photographs to the public, including without limitation, on and through
3    its website(s).
4          19. Plaintiff is informed and believes and thereon alleges that Defendants, and
5    each of them, infringed Plaintiff’s rights by copying the Subject Photographs without
6    Plaintiff’s authorization or consent, and creating an unlawful derivative work from
7    the Subject Photographs.
8          20. Plaintiff is informed and believes and thereon alleges that Defendants, and
9    each of them, had access to the Subject Photographs, including, without limitation,
10   through viewing the Subject Photographs on Plaintiff’s website, publications,
11   profiles, exhibitions and/or through other authorized channels, over the internet,
12   including without limitation as accessed via a search engine, or through a third-party
13   source.
14         21. Due to Defendants’, and each of their, acts of infringement, Plaintiff has
15   suffered general and special damages in an amount to be established at trial.
16         22. Due to Defendants’ acts of copyright infringement as alleged herein,
17   Defendants, and each of them, have obtained direct and indirect profits they would
18   not otherwise have realized but for their infringement of Plaintiff’s rights in the
19   Subject Photographs. As such, Plaintiff is entitled to disgorgement of Defendants’
20   profits directly and indirectly attributable to Defendants’ infringement of its rights in
21   the Subject Photographs in an amount to be established at trial.
22         23. Plaintiff is informed and believes and thereon alleges that Defendants, and
23   each of them, have committed acts of copyright infringement, as alleged above,
24   which were willful, intentional and malicious, which further subjects Defendants,
25   and each of them, to liability for statutory damages under Section 504(c)(2) of the
26   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
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28                                          COMPLAINT
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1     per infringement. Within the time permitted by law, Plaintiff will make its election
2     between actual damages and statutory damages.
3                              SECOND CLAIM FOR RELIEF
4     (For Violations of the Digital Millennium Copyright Act (17 U.S.C. §1202 – Against
5                                   all Defendants, and Each))
6           24. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
7     fully set forth, the allegations contained in the preceding paragraphs of this
8     Complaint.
9           25. Plaintiff’s photography was routinely published with attribution, credit, and
10    other copyright management information. The name of Plaintiff’s principal, the title
11    of the publication, and other indicia of authorship would be visible on the work.
12          26. Plaintiff is informed and believes and thereon alleges that Defendants, and
13    each of them, removed Plaintiff’s copyright management information, as described
14    above, from one or more of the Subject Photographs, and/or added false copyright
15    management information to one or more of the Subject Photographs, before
16    publishing same.
17          27. Specifically, Plaintiff is informed and believes and thereon alleges that
18    Defendants, and each of them, published the Subject Photographs under the name
19    “BuzzFeed” with credits to its writer(s).
20          28. The aforementioned facts constitute “copyright management information”
21    as that phrase is defined in 17 U.S.C. § 1202(c) and is false.
22          29. When Defendants published the Subject Photographs, they knowingly
23    provided and/or distributed false copyright management information in violation of
24    17 U.S.C. § 1202(a).
25          30. As a result of the foregoing, Plaintiff has been damaged and may recover
26    those damages as well as Defendants’ profits, and/or statutory damages, and
27    attorneys’ fees under the Digital Millennium Copyright Act.
                                                  10
28                                           COMPLAINT
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1                                   PRAYER FOR RELIEF
2          Wherefore, Plaintiff prays for judgment as follows against all Defendants and
3    with respect to each claim for relief:
4              a. That Defendants, their affiliates, agents, and employees be enjoined
5                 from infringing Plaintiff’s copyright in and to the Subject Photographs;
6              b. That Plaintiff be awarded all profits of Defendants, and each of them,
7                 plus all losses of Plaintiff, plus any other monetary advantage gained by
8                 the Defendants through their infringement, the exact sum to be proven at
9                 the time of trial, or, if elected before final judgment, statutory damages
10                to the extent they are available under the Copyright Act, 17 U.S.C. § 504
11                et seq.;
12             c. That Plaintiff be awarded its costs and attorneys’ fees to the extent they
13                are available under the Copyright Act U.S.C. § 505 et seq.;
14             d. That a trust be entered over the disputed works, and all profits realized
15                through the infringement;
16             e. That Plaintiff be awarded pre-judgment interest as allowed by law;
17             f. That Plaintiff be awarded the costs of this action; and
18             g. That Plaintiff be awarded such further legal and equitable relief as the
19                Court deems proper.
20         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
21   38 and the 7th Amendment to the United States Constitution.
22
                                              Respectfully submitted,
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24   Dated: August 14, 2020                   By:     /s/ Scott Alan Burroughs
25
                                                      Scott Alan Burroughs, Esq.
                                                      Justin M. Gomes, Esq.
26                                                    DONIGER / BURROUGHS
27
                                                      Attorneys for Plaintiff
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28                                            COMPLAINT
